

People v Saulters (2017 NY Slip Op 06879)





People v Saulters


2017 NY Slip Op 06879


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: SMITH, J.P., CARNI, LINDLEY, DEJOSEPH, AND WINSLOW, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (1472/04) KA 02-00850.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDAMION SAULTERS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER Motion for writ of error coram nobis denied.








